Case 9:18-cv-80176-BB Document 1067-2 Entered on FLSD Docket 02/20/2024 Page 1 of 1




                                 UNITED STATES DISTRICT COURT
                                 SOUTHERN DISTRICT OF FLORIDA

    IRA KLEIMAN, as the personal representative
    of the Estate of David Kleiman, and W&K Info
    Defense Research, LLC                                     Case No.: 9:18-cv-80176-BB/BER

            Plaintiffs,

    v.

    CRAIG WRIGHT

            Defendant.


                [PROPOSED] ORDER ON MOTION FOR ENTRY OF DEFAULT

           THIS CAUSE is before the Court on W&K’s Motion for Entry of Default Against Garnishee Greenberg

   Traurig PA for Failure to Answer Writ of Garnishment, and the Court, having reviewed the motion and exhibits, it

   is hereby ORDERED and ADJUDGED that the motion is GRANTED as follows:


           1. The Court enters a Final Default Judgment in favor of W&K and against Greenberg Traurig PA for

               $143,132,492.48.

           2. The Final Default Judgment shall bear interest at the statutory interest rate until paid in full.



   RESPECTFULLY SUBMITTED in Palm Beach, Florida, this ___ day of February, 2024.




                                                              ______________________________
                                                              Judge Bruce Reinhart
                                                              United States Magistrate Judge




   Copies furnished: All counsel of record
